            Case 3:21-cv-00259-DCG-JES-JVB          Document 962-18       Filed 05/07/25       Page 1 of 3




                                                    Exhibit 18
                        Designations of Deposition Testimony of Jacey Jetton (July 13, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line          End Page/Line          Defendants’      Start Page/Line  End Page/Line        Plaintiffs’
                                                 Objections                                            Objections
       12:2                    13:3
       13:23                   14:9
       14:24                   17:5
       18:8                    18:18
       20:5                    20:13
       20:19                   20:23
       24:23                   25:6
       25:12                   25:15
       28:8                    28:16
       30:1                    30:13
       39:14                   39:16
       45:19                   46:11
       46:23                   47:15
       48:3                    48:5
       51:7                    51:10
       52:11                   52:14
       52:20                   52:24
       61:7                    61:20
       62:3                    62:5
       64:14                   65:5
       68:1                    68:7
       73:1                    73:9
       73:14                   73:25
       76:15                   77:3
       78:18                   79:25
       82:4                    82:12

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             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-18   Filed 05/07/25   Page 2 of 3




              Plaintiffs’ Affirmative Designations                      Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’   Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                         Objections
        83:5                     84:4
        85:1                    85:25
       90:18                    91:20
       92:10                    92:12
       94:12                    94:14
       95:14                     96:11
       96:15                    104:25
       105:6                    106:11
      106:16                    106:24
       107:4                    107:22
      108:15                    109:3
       109:3                    109:21
       110:20                   110:25
        111:3                    112:9
       112:17                    113:3
       113:10                   113:21
      131:22                    132:14
      132:22                    133:3
       135:4                    136:21
       137:6                    137:10
       138:3                    138:20
       141:1                    141:17
       142:11                   142:17
      143:14                    144:13
       153:3                    154:17
       159:11                   159:23
      160:17                    160:20
      161:22                    162:11
      166:16                    168:5

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             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-18   Filed 05/07/25   Page 3 of 3




              Plaintiffs’ Affirmative Designations                      Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’   Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                         Objections
       169:7                    170:10
      185:25                    186:8
      187:13                    187:18
      187:24                    188:8
      188:19                    189:3
      189:23                    190:5
       192:1                    192:5
       193:4                    193:8
      194:15                    195:17
       197:3                    197:12
      201:15                    203:5
      203:21                    204:8
      205:24                    206:11
      207:13                    207:17
       209:2                    209:18
      210:20                    210:25
      213:17                    213:22
       228:2                    229:1
      229:14                    230:9
      230:14                    230:18
       231:11                   231:16
      231:22                    232:3




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